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       Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        SOCIAL POSITIONING INPUT                       CASE NO.: 2:21-cv-02320
        SYSTEMS, LLC,
  11
                            Plaintiff,                 NOTICE OF VOLUNTARY
  12                                                   DISMISSAL WITHOUT
        v.                                             PREJUDICE
  13

  14    XIRGO TECHNOLOGIES HOLDINGS,
        INC.,                      ,
  15                                                   JURY TRIAL DEMANDED
                            Defendant.
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  18         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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  20         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files this
  21
       Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
  22

  23   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed

  24   by the plaintiff without order of court by filing a notice of dismissal at any time before
  25
       service by the adverse party of an answer. Accordingly, Rothschild Patent Imaging,
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  27   LLC hereby voluntarily dismisses this action against Defendant Xirgo Technology
  28   Holdings, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to
                                                  1
                                NOTICE OF DISMISSAL WITHOUT PREJUDICE
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       bear its own fees and costs.

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       Dated: April 8, 2021                 Respectfully submitted,
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  10                                        Input Systems, LLC

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                               NOTICE OF DISMISSAL WITHOUT PREJUDICE
